                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 22-00173-EPB
MICHAEL F MOORE                                                                                                        Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jan 12, 2022                                               Form ID: ntcdef                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 14, 2022:
Recip ID                 Recipient Name and Address
db                     + MICHAEL F MOORE, 18013 N. 34TH AVE., PHOENIX, AZ 85053-1616

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 14, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 12, 2022 at the address(es) listed
below:
Name                               Email Address
EDWARD J. MANEY
                                   courtecf@maney13trustee.com

U.S. TRUSTEE
                                   USTPRegion14.PX.ECF@USDOJ.GOV

WILLIAM ERIK MARKOV
                                   on behalf of Debtor MICHAEL F MOORE bill@hartleymarkov.com ch13@hartleymarkov.com


TOTAL: 3
FORM ntcdef
REVISED 08/01/2018



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                         Case No.: 2:22−bk−00173−EPB

    MICHAEL F MOORE                                            Chapter: 13
    aka MIKE MOORE
    18013 N. 34TH AVE.
    PHOENIX, AZ 85053
    SSAN: xxx−xx−1482
    EIN:

Debtor(s)


               NOTICE TO DEBTOR(S) OF INCOMPLETE OR DEFICIENT FILINGS
                AND THAT DEBTOR(S) MUST FILE ALL REQUIRED DOCUMENTS
              OR THEIR CASE WILL BE DISMISSED WITHOUT FURTHER NOTICE

       NOTICE IS GIVEN THAT the above debtor(s) have filed a voluntary petition and that debtor(s) have not filed
the documents checked below or have filed them without all the required information. Failure to timely file all
required documents with all required information and within the time periods stated will result in the dismissal of this
case.


         A typed list of creditors in the required format of a master mailing list required to be filed within seven days
         of the date of the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1 and
         Federal Rule of Bankruptcy Procedure 1007.


         A verified Statement of Social Security Number required to be submitted within seven days of the date of
         the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−1 and Federal Rule of
         Bankruptcy Procedure 1007. Must be filed by both debtors if a joint petition was filed.


         The petition indicates that the briefing from an approved credit counseling agency was received 180 days prior
         to filing and that the certificate of completion was attached. However, the certificate was not attached as
         indicated.


         The petition indicates that the briefing from an approved credit counseling agency was received 180 days prior
         to filing, but that the debtor did not have the certificate of completion at the time of filing. A copy of the
         certificate and payment plan, if any, must be filed within 14 days of the filing of the petition.



                                   − − − NOTICE CONTINUES ON NEXT PAGE − − −
The petition indicates that exigent circumstances exist pursuant to 11 U.S.C. § 109(h)(3); which prevented the
debtor from obtaining credit counseling and that the circumstances merit a temporary waiver, or that the debtor
is not required to receive a briefing about credit counseling pursuant to 11 U.S.C. § 109(h)(4). These indications
require further explanation in the form of a separate sheet or motion.


Schedules of Assets and Liabilities required to be filed within 14 days of the date of the filing of the
bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. § 521(a)(1).


Statement of Financial Affairs required to be filed within 14 days of the date of the filing of the bankruptcy
petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. § 521(a)(1).


If a Chapter 7 debtor's schedules of assets and liabilities includes debts which are secured by property of the
estate, then a Statement of Intentions is required to be filed within 30 days after the date of the filing of the
chapter 7 petition or on or before the date of the meeting of creditors, whichever is earlier.


Chapter 7 Statement of Your Current Monthly Income and/or Chapter 7 Means Test Calculation is required to
be filed within 14 days of the date of the filing of the bankruptcy petition by Federal Rule of Bankruptcy
Procedure 1007 and 11 U.S.C. § 521(a)(1). If your debts are not primarily consumer debts, then you must file
the Statement of Exemption from Presumption of Abuse Under 11 U.S.C. § 707(b)(2) with the appropriate box
in Part I checked.


Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period and/or Chapter
13 Calculation of Your Disposable Income is required to be filed within 14 days of the date of the filing of
the bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. § 521(a)(1).


Chapter 11 Statement of Your Current Monthly Income is required to be filed within 14 days of the date of
the filing of the bankruptcy petition by Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C. §
521(a)(1).


Declaration of Employer Payments with all pay stubs received from any employer in the 60 days before the
filing of the petition required to be filed within 14 days of the date of the filing of the bankruptcy petition
by Local Rule of Bankruptcy Procedure 1007−1 and Federal Rule of Bankruptcy Procedure 1007 and 11 U.S.C.
§ 521(a)(1). Must be filed by both debtors if a joint petition was filed.



                          − − − NOTICE CONTINUES ON NEXT PAGE − − −
     Chapter 13 Plan required to be filed within 14 days of the date of the filing of the bankruptcy petition by
     Federal Rule of Bankruptcy Procedure 3015.


     Declaration Under Penalty of Perjury for Debtors Without an Attorney is required to be filed within 14 days of
     the date of the filing of the bankruptcy petition by Local Rule of Bankruptcy Procedure 1007−3.


     OTHER:



Date: January 12, 2022

Address of the Bankruptcy Clerk's Office:                 Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                         George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000                          By: SAL , Deputy Clerk
www.azb.uscourts.gov                                      Phone: 602−682−4900
                                UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF ARIZONA


In re:
MICHAEL F MOORE aka
MIKE MOORE
18013 N. 34TH AVE.
PHOENIX, AZ 85053
SSAN: xxx−xx−1482
EIN:

Chapter: 13

Case No.: 2:22−bk−00173−EPB




         Declaration of Evidence of Employers' Payments Within 60 Days


              Attached hereto are copies of all payment advices, pay stubs or other evidence of payment received by the
              debtor from any employer within 60 days prior to the filing of the petition;

              Debtor has received no payment advices, pay stubs or other evidence of payment from any employer
              within 60 days prior to the filing of the petition; or


              Debtor has received the following payments from employers within 60 days prior to the filing of the
              petition: $__________ .



Debtor declares the foregoing to be true and correct under penalty of perjury.



______________________________________________________________________________
   Signature of Debtor                         Date

If attaching pay stubs or other payment advices, it is your responsibility to redact (black out) any social security
numbers, names of minor children, dates of birth or financial account numbers before attaching them to this
document.
